                                                                    (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5      ATTORNEYS FOR     Defendant,
                          AUGUSTINE REYNA
 6
 7
                                  UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
                                                 ******
10
      UNITED STATES OF AMERICA,                         Case No.:       CR-F-10-00173-AWI-3
11
                    Plaintiff,
12                                                           STIPULATION TO CONTINUE
             vs.                                                       and
13                                                                   ORDER
      AUGUSTINE REYNA, et al.
14
                    Defendant.                          DATE: September 12, 2011
15                                                      TIME: 11:00
                                                        DEPT: 2
16
            IT IS HEREBY STIPULATED by and between attorneys for the respective clients that the
17
     hearing currently on calendar for Monday, September 12, 2011, at 11:00 a.m., be continued to
18
     October 11, 2011, or as soon thereafter as is convenient to the court’s calendar.
19
            Counsel for Defendants have spoken with Assistant U.S. Attorney, KAREN ESCOBAR, who
20
     has no objection to this continuance.
21
     DATED: September 8, 2011.               NUTTALL COLEMAN & WILSON
22
                                             /s/ MARK W. COLEMAN
23
                                             ________________________
24                                           MARK W. COLEMAN
                                             Attorneys for Defendant
25
     DATED: September 8, 2011.               FALLER LAW FIRM
26
                                             /s/ CARL FALLER
27
                                             CARL FALLER
28
       Case 1:10-cr-00173-JLT Document 90 Filed 09/09/11 Page 2 of 2


 1   DATED: September 8, 2011.    LAW OFFICES OF ANTHONY P. CAPOZZI
 2                                /s/ ANTHONY CAPOZZI
 3                                ANTHONY CAPOZZI
 4
     DATED: September 8, 2011.    UNITED STATES ATTORNEYS OFFICE
 5
                                  /s/ KAREN ESCOBAR
 6
                                  __________________________
 7                                KAREN ESCOBAR
                                  Assistant U.S. Attorney
 8
 9                                    ORDER
10   IT IS SO ORDERED.
11
     Dated:         September 9, 2011
12   0m8i78                       CHIEF UNITED STATES DISTRICT JUDGE
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